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BART M. DAV]S, IDAHO STATE BAR NO. 2696
UNITED STATES ATTORNEY
JACK B. HAYCOCK, IDAHO STATE BAR NO.2942
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF'IDAHO
I]OI E. SI.IERMAN AVE SUITE 192
POCATELLO, ID 83201
TELEPIIONE: (208\ 47 8 -4 | 66
FACSIMILE: (208) 47 8-417 s




                        LINITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                       Case No.   4:19-cr-219-BLW
           Plaintiff,
                                       RULE 1I PLEA AGREEMENT
     vs.

RYAN V. CLARK,

           Defendant.




                                                              Re\i. No\ember 2015 (General)
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I.      GUILTY PLEA

        A.      Summary of Terms. Pursuant to Federal Rule of Criminal Procedure l1(c)(l)(B),

the defendant, the attomey for the defendant, and the govemmentl agee that the defendant              will

waive Indictment and plead guilty to Count One ofthe Information, which charges the defendant

with Gratuity Received by   a Public   Official, in violation of l8 U.S.C.   $ 201(c)(1XB).

        This plea is voluntary and did not result from force, threats, or promises, other than any

promise made in this agreement. Upon acceptance ofthe defendant's guilty pleas, and the

defendant's full compliance with the other terms of this agreement, the govemment will make the

recommendations noted below.

        B.      Oath. The defendant will be placed under oath at the plea hearing. The

govemment may use any statement that the defendant makes under oath against the defendant in a

prosecution for pe{ury or false statement.

IL      WAIVf,R OF CONSTITUTIONAL RIGHTS AT TRIAL

        The defendant waives the following rights by pleading guilty pursuant to this agreement:

1) the right to plead not guilty to the offenses charged against the defendant and to persist in that

plea; 2) the right to a trial byjury, at which the defendant would be presumed innocent and the

burden would be on the govemment to prove the defendant's guilt beyond a reasonable doubt; 3)

the right to have thejury agree unanimously that the defendant was guilty ofthe offense; 4) the

right, at trial, to confront and cross-examine adverse witnesses; 5) the right to present evidence

and to compel the aftendance of witnesses; and 6) the right not to testify or present evidence




        I The word "Govemment" in this Agreement refers to the
                                                               United States Attomey for the
District of ldaho.



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without having that held against the defendant. If the court accepts the defendant's guilty plea,

there   will   be no trial.

III.      NATURE OF THE CHARGES

          A.        Elements of the Crime. The elements of the crime of Gratuity Received by

Public Offioial, in violation of l8 U.S.C. $ 201(cxl)(S), as charged in Count One, are as follows:

                     l.       The defendant is a public official as defined   in   18 U.S.C. Section     201(aXl).

                    2.        The defendant did otherwise than as provided by law for the proper

discharge of official duties;

                    3.        In that, the defendant accepted and agreed to receive or accept something

ofvalue personally because ofan official act performed or to be performed by such official;

                    4.        That is, to provide bidding information to allow a particular bidder to under

bid the competition and to secure the contract, and to steer business to the same bidder.

          B.        Factual Basis. If this matter were to proceed to trial, the govemment and the

defendant agee that the following facts would be proven beyond a reasonable doubt:

          The defendant was a purchasing specialist agent for Battelle Energy Alliance (BEA) at the

Idaho National Laboratory (INL) near Idaho Falls, Idaho, in which capacity he purchased various

materials, including metal, pipe and plumbing supplies, for the United States govemment's

operations at the         INL.   The parties agree that the defendant was a public official as defined in 18

U.S.C. Section 201(a)(l). On December I1,2015, the defendant met with an informant who paid

the defendant $1000.00 to induce the defendant to provide the informant with bidding information

to allorv the informant to underbid other bidders in the procurement purchasing process and

further agreed to intentionally steer business toward the informant's company. The parties agree




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that the defendant accepted and agreed to receive or accept something ofvalue personally and

because   ofan official act performed or to be performed by the defendant.

IV.      SENTENCINGFACTORS

         A.       Penalties. A violation of Gratuity Received by Fublic Official, l8 U.S.C.

S   201(cXlXB),       as charged in Count One, is punishable by:


                  I   .     a term   of imprisonment   of   up to two (2) years

                  2.        a term   of supervised release of up to one   (l)   year

                  3.        a   maximum fine of$250,000;

                  4.        a special assessment   of$100;

         B.       Supervised Release. The court may impose a period of supervised release. No

agreement exists as to the length of supervised release.

         The law permits the combined prison time and term of supervised release to exceed the

maximum term of incarceration for the crime(s) to which the defendant is pleading guilty.

Violation ofany condition of supervised release may result in further penalties and/or

prosecution.

         C.      Fines and Costs. The court may impose a fine. No agreement exists as to the

amount    ofthe fine. The court may also order the defendant to pay the costs of imprisonment,

probation, and supervised release.

         D.      Special Assessment. The defendant will pay the special assessment(s) before

sentencing and    will furnish    a receipt at sentencing.   Palment will be made to:




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               The United States District Court, Clerk's Office
               Federal Building and United States Courthouse
               801 E. Sherman Street, Room I l9
               Pocatello, Idaho 83201.

       E.      Restitution. In addition to any forfeiture, fine, or costs imposed, the defendant

agrees to pay restitution equal to the loss caused to any   victim ofthe charged offense pursuant to

any applicable statute. The defendant agrees that all monetary penalties imposed by the court,

including restitution, will be due immediately and subject to immediate enforcement by the

govemment. The defendant agrees that any payment schedule or plan set by the court is merely a

minimum schedule of payments and neither the only method, nor a limitation on the methods,

available to the govemment to enforce thejudgment, unless the court specifically states

otherwise. The defendant is aware that voluntary payment of restitution prior to adjudication of

guilt is a factor in considering whether the defendant has accepted responsibility under the United

States sentencing guidelines C'USSG') $3El .1.

       F.      Relevant Conduct, The defendant agrees that other pa)rynents he received from

the informant, although not charged, may be considered by the Court as relevant conduct under

Guidelines Section   lBl.3.

V.     UNITED STATES SENTENCING GUIDELINES

       A.      Application of Sentencing Guidelines. The court must consider the USSG in

determining an appropriate sentence under I 8 U.S.C. $ 3553. The defendant agrees that the court

may consider "relevant conduct" in determining a sentence pursuant to USSG $ I B1.3.

       The court is not a party to this agreement. The agreement does not bind the court's

determination of the USSG range. The court will identify the factors that will determine the

sentencing range under the USSG. While the court may take the defendant's cooperation,            ifany,




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and the recommendations of the parties into account, the court has complete discretion to impose

any Iawful sentence, including the maximum sentence possible.

        Recognizing that the court is not bound by this agreement, the parties agree to t}re

recommendations and requests set forth below.

        B.       Sentencing Guidelines Recommendations and Requests.

                 l.     Government's statements at sentencing. The govemment reserves the

right to fully allocute at sentencing regarding any sentencing recommendation and to rely on any

information in support of its recommendation regardless ofwhether the information is contained

in the plea agreement or the presentence report.

                 2.    Acceptance of R$ponsibility. If the defendant clearly accepts

responsibility for the offense, the defendant will be entitled to a reduction of two levels in the

combined adjusted offense level, under USSG $ 3E1.1(a). The govemment will move for an

additional one-level reduction in the combined offense level under $ 3E1.1(b) ifthe following

conditions are met: (1) the defendant qualifies for a decrease under $ 3El.l(a); (2) the offense is

level l6 or greater; and (3) the defendant has timely notified authorities ofthe defendant's

intention to enter a plea ofguilty, thereby permitting the govemment to avoid preparing tbr trial

and permitting the court to allocate its resources   efficiently. If, before sentence is imposed, the

defendant fails to meet the criteria set out in USSG $ 3E    l.l,   or acts in a manner inconsistent with

acceptance of responsibility, the government      will withdraw     or decline to make such a

recommendation.

                 3.    Downward Departure or Variance Request by defendant. Unless

otherwise specified in this paragraph, the defendant will not seek a downward deparhrre or

variance under   l8 U.S.C.   $ 3553(a),   without first noti$ing the Govemment of the defendant,s




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intent to seek a downward deparnrre and the defendant's reasons and basis therefor, such notice to

be provided not less than      2l   days before the date set for sentencing.

VI.     WAIVf,R OF RIGHT TO DIRECT APPEAL AND TO COLLATERAL ATTACK
        UNDER 28 U.S.C. $ 22ss

        A.        Waiver: In     exchange for this agreement, and except as provided in subparagraph

B, the defendant waives any right to appeal or collaterally attack the entry ofplea, the conviction,

the entry ofjudgment, and the sentence, including forfeiture and restitution. The waiver               ofthe

challenge to the conviction includes challenges to the constitutionality ofany statute ofconviction

and arguments that the admitted conduct does not fall within any statute ofconviction.

        The defendant acknowledges that this waiver shall result in the dismissal ofany direct

appeal or collateral attack the defendant might file seeking to challenge the plea, conviction or

sentence in this case. Further, the      filing ofsuch   an appeal or collateral attack   will   breach this

agreement and     will allow   the government to withdraw from the agreement and take other

remedial action.

        If   the defendant believes the government has not       fulfilled its obligations under this

agreement, the defendant       will object   at the time ofsentencing; further objections are waived.

        B.        Exceptions:

                  l.     Direct Appeal: Notwithstanding subparagraph A, the defendant shall

retain the right to file one direct appeal     ifone ofthe following unusual circumstances occurs:

                         a.         the sentence imposed by    the court   exceeds the statutory maximum;

                         b.         the court arrived at an advisory USSG range by applying an
                                    upward departure under chapter 5K of the USSG; or

                         c          the court exercised its discretion under 18 U.S.C. $ 3553(a) to
                                    impose a sentence that exceeds the advisory USSG range as
                                    determined by the court.




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        The defendant understands that the above circumstances occur rarely and that in most

cases this agreement completely waives      all appellate rights.

                2.       Motion Under 28 U.S.C. $ 2255: Notwithstanding subparagraph A, the

defendant shall retain   tle right to file a 28 U.S.C.   $ 2255 motion alleging   ineffective assistance      of
counsel.

VII.    PROVIDING INFORMATION FOR THE PRESENTENCE REPORT

        The defendant agrees to provide material financial and other information requested by a

representative ofthe United States probation office for use in preparing a presentence report.

Failure to execute releases and provide information for the presentence report violates this

agreement and relieves the govemment of its obligations in this agreement. Such failure and

response by the govemment      will not, however, constitute    grounds for withdrawing the plea         of
guilty unless the government so requests. Providing materially false information will subject the

defendant to additional penalties, including an enhancement under USSG $ 3C             l.l.
VIII.   DISCLOSINGFINANCIAL INFORMATION

        The defendant agrees to disclose all ofthe defendant's assets and sources of income to the

government, including all assets over which the defendant exercises or exercised direct or indirect

control, or in which the detbndant has had any financial interest. The defendant also agrees to

cooperate in obtaining any records relating to ownership ofassets when sought by the

govemment. The defendant a$ees truthfully to complete           a   personal financial statement within

fourteen days from the date the defendant signs this agreement. If the government provides               a

financial statement to be completed, the defendant agrees to complete the financial statement

truthfully and accurately within fourteen days from the date the defendant signs this agreement or

the date the financial statement is provided to the defendant or counsel, whichever is later. The




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defendant agrees to provide updates with any material changes in circumstances, as described in

18 U.S.C. $ 3664(k)    within seven days of the event giving rise to the changed circumstances. The

failure timely and accurately to complete, sign, and update the financial statements as required

herein, may constitute failure to accept responsibility under USSG $       3El.l,   as   well as other

things.

          The defendant authorizes the government: (a) to obtain a credit report on the defendant;

(b) to inspect and copy all financial documents and information held by the United States

probation office; and (c) to obtain financial records related to the defendanl.

          Before sentencing, defendant agrees not to dissipate any assets without the consent ofboth

the govemment's financial litigation unit and the asset forfeiture   unit. If   any assets are sold, any

sale proceeds received from sale ofassets   will   be deposited with the clerk and, upon sentencing,

paid toward any monetary penalties due as ordered in the judgment.

IX.       NO RIGHT TO WITIIDRAW PLEA

          The defendant understands t}at the court may not follow the recommendations or requests

made by the parties at the time of sentencing. The defendant cannot withdraw from this

agreement or the guilty plea, regardless ofthe court's actions.

X.        CONSEQUENCES OF VIOLATING AGREEMENT

          A.     Government's Options. If the defendanr fails to keep any promise in this

agreement or commits a new crime, the govemment is relieved of any obligation: 1) to make a

sentencing recommendation consistent with the terms promised in this agreement; and 2) not to

prosecute the defendant on other charges, including charges not pursued due to this agreement.

Such charges may be brought without prior notice. ln addition,     if   the government determines

after sentence is imposed that the defendant's breach ofthe agreement wanants firther




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 prosecution, the govemment may choose between letting the conviction(s) under this agreement

 stand or vacating such conviction(s) so that such charge(s) may be re-prosecuted.       Ifthe

govemment determines that a breach warrafts prosecution before sentencing, it may withdraw

 fiom the agreement in its entirety.

        The government's election to pursue any of the above options cannot be a basis for the

defendant to withdraw the guilty plea(s) made pursuant to this agreement.

        B.      Defendant's Waiver of Rights. If the defendant fails to keep any promise made

in this agreement, the defendant gives up the right not to be placed twice injeopardy for the

offense(s) to which the defendant entered a plea of guilty or which were dismissed under this

agreement. In addition, for any charge that is brought as a result ofthe defendant's failure to keep

this agreement, the defendant gives up:   (I   ) any right under the Constitution and laws of the

United States to be charged or tried in a more speedy manner; and (2) the right to be charged

within the applicable statute of limitations period if the statute of limitations has expired.

        Furthermore, if the defendant does not enter an acceptable plea, the govemment will move

to continue the trial now set to allow the govemment adequate time to prepare. The defendant

agrees not to contest such a continuance, and agrees that the resulting delay would be excludable

time under l8 U.S.C. g 3l6l(h).

XI.    MISCELLANEOUS

       A.      No Other Terms. This agreement is the complete understanding between the

parties, and no other promises have been made by the govemment to the defendant or to the

attomey for the defendant. This agreement does not prevent any govemmental agency from

pursuing civil or administrative actions against the defendant or any property. Unless an

exception to this paragraph is explicitly set forth elsewhere in this document, this agreement does




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 not bind or obligate govemmental entities other than that specified as the govemment in this

 agreement (i.e., the United States Attomey's Office for t}te District of Idaho). The govemment

 will bring   the defendant's cooperation and pleas to the attention ofother prosecuting authorities at

the request ofdefendant' or counsel.

        B,        PIea Agreement Acceptance Deadline. This plea offer is explicitly conditioned

on the defendant's notification ofacceptance     ofthis agreement no later than July   15, 2019.

XII.    UNITEDSTATES'APPROVAL

        I have reviewed this matter and the agreement. This agreement constitutes a formal plea

otl'er tiom the govemment. Any oral discussions with the defendant and defense counsel about a

plea do not constitute a plea   offer. Any written offer or agreement   made before this agreement is

no longer a valid offer by the government and is rescinded. I agree on behalf of the United States

that the terms and conditions set forth above are appropriate and are in the best interests ofjustice.

BART M. DAVIS
UNITED STATES ATTORNEY
By:




        B. HAYCOCK
                                                                        tbt I
                                                             Date
    istant United States Attorney




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XIII.   ACCEPTANCE BY DEFENDANT AND COUNSEL

        I have read and carefully reviewed every part of this agreement with my attomey. I

understand the agreement and its effect upon my potential sentence. Furthermore, I have

discussed all of my rights with my attomey and I understand those rights. No other promises or

inducements have been made to me, directly or indirectly, by any agent ofthe govemment,

including any Assistant United States Attomey, conceming the plea to be entered in this case.                  I
understand that this agreement constitutes a formal plea offer from the govemment. Any oral

discussions between the govemment and me or my counsel about a plea do not constitute a plea

offer. Any written offer or agreement made before this agreement is no longer         a   valid offer by the

govemment and is rescinded. In addition, no one has threatened or coerced me to do, or to refrain

from doing, anything in connection with this case, including enter a guilty plea. I understand that,

if I am not a citizen or naturalized citizen ofthe United   States, by pleading   guilty in this case it is

virtually certain that I will be removed from the United States. I am satisfied with my attomey's

advice and representation in this case.




      lr fr
RYAN V. CLARK
Defendant
                                                              Date
                                                                        6.ey. /7

        I have read this agreement and have discussed the contents ofthe agreement with my

client. The agreement accurately sets forth the enttety ofthe agreement. I have conveyed all

written offers from the governrnent to the defendant purs\ant to Missouri v. Frye, 132 s. ct.

1399, 1408-09 (2012). I understand that this agreement constitutes a formal plea offer from the

government. Any oral discussions between the govemment and me or my client about a plea do

not constitute a plea offer. Any written offer or agreement made before this agreement is no




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longer a valid of}'er by the govemment and is rescinded. I have discussed with my client the fact

that if my client is not a citizen or naturalized citizen ofthe United States, by pleading guilty in

this case, it is virtually certain that my client will tre removed from the United States. I concur in

my client's decision to plead guil   as set   forth above.


                                                                             7
                                                             Date
Attorney         defendant




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